Cems): 44-31 8417 HEcUPERMOOHPA320405 52 Page: Hrilecetdlrildd: ddAoezo Ob 8

United States Court of Appeals

H CIRCUI
OFFICE OF THE CLERK
LYLE W, CAYCE TEL, 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130
REVISED

April 11, 2012

Ms. Loretta Whyte

U.S. District Court, Eastern District of Louisiana
500 Poydras Street

Room C-151

New Orleans, LA 70130

No. 11-31172, In Re: Deepwater Horizon
USDC No. 2:10-MD-2179
USDC No. 2:10-CV-1986

Enclosed is a copy of the judgment issued as the mandate.

Please note that appeal #11-31172 remains open as to all

remaining appellees, other than M/V Monica Ann & Gulf Offshore

Logistics, LLC.

Also, appeal #11-31184 is dismissed in its entirety. All

remaining cases will proceed with the briefing schedule set.
Sincerely,

LYLE W. CAYCE, Clerk

ay: Ongtigu. . Betiste

Angelique D. Batiste, Deputy Clerk
504-310-7715

cc w/encl:

Mr. Lloyd N Frischhertz
Mr. Jeremy Thomas Grabill
Mr. Gary Alan Hemphill

Mr. Michael J. Lyle

Mr. F. Gerald Maples

Mr. Robert P McCleskey Jr.
Mr. Theodore E. Tsekerides

EXHIBIT

A

1 of 8
COMBE: 49-91 8417 HEUER DOPPB1BES 62 Page: TilecetelFildd: 04AF20 1 8

United States Court of Appeals
FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W, CAYCE TEL. 504-310-7700
CLERK

600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

April 11, 2012

Ms. Loretta Whyte

U.S. District Court, Eastern District of Louisiana
500 Poydras Street

Room C-151

New Orleans, LA 70130

No. 11-31172, In Re: Deepwater Horizon
USDC No. 2:10-MD-2179
USDC No. 2:10-CV-1986

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk

ays pe atl

Angelique D. Batiste, Deputy Clerk
504-310-7715

cc w/encl:

Mr. Lloyd N Frischhertz
Mr. Jeremy Thomas Grabill
Mr. Gary Alan Hemphill

Mr. Michael J. Lyle

Mr. F. Gerald Maples

Mr. Robert P McCleskey Jr.
Mr. Theodore E. Tsekerides

2008
Came: 44-31+84.17 Hbolmeut Dobprereeat 62 Page: trilecDetélriled: CAA 12 8

IN THE UNITED STATES COURT OF APPEALS

FOR THE FIFTH CIRCUIT

No. 11-31172

IN RE: DEEPWATER HORIZON

TERRY G. ROBIN, Individually and on behalf of all members of the 3 classes
represented by the named plaintiffs including individual/entities which are
landowners, individuals/entities which are commercial fisherman, shrimpers,
oyster harvesters, etc.; CAROLYN FRIERE; DOROTHY MOLERO; JANICE
GONZALES; JANET ESTAVEZ; RICKY ESTAVEZ; ANABELLE NUNEZ;
DARDINELLA LONG; KAREN SCOTT; MARIE CAMPO; LARRY FRILOT;
B.M. PERRY, II, LIMITED; DAVID ESTAVEZ,

Plaintiffs - Appellants

Vv.

SEACOR MARINE, L.L.C.; SEACOR MARINE, INCORPORATED; SEACOR
MARINE INTERNATIONAL, INCORPORATED; NAUTICAL VENTURES,
L.L.C.; ISLAND VENTURES, IJ; JOE GRIFFIN MV, in rem; MR. SIDNEY
MV, in rem; SEACOR WASHINGTON MY, in rem; SEACOR VANGUARD
MV, in rem,

Defendants - Appellees

CONSOLIDATED WITH 11-31178

In Re: In the Matter of the Complaint of Seacor Worldwide, Incorporated, As
Beneficial Owner, Registered Owner, and Managing Owner of the M/V Seacor
Lee, for Exoneration from or Limitation of Liability

SEACOR HOLDINGS, INCORPORATED; SEACOR OFFSHORE, L.L.C.;
SEACOR MARINE, L.L.C.; SEACOR WORLDWIDE, INCORPORATED, As
Beneficial Owner, Registered Owner, and Managing Owner of the M/V Seacor
Lee Petitioning for Exoneration from or Limitation of Liability,

Petitioners - Appellees

3 0f 8
COMBE: 49-81 8417 Hoole DoOHPBaA 2 Page: BilechaeiRildd: of A726 12 8

Vv

TERRY G. ROBIN; AIMAN ABDEL; CARL ALEXANDER; SERGIO
ALVARADO; BILLY BENSEL; ET AL,

Claimants - Appellants

CONSOLIDATED WITH 11-31179

In Re: In the Matter of the Complaint of Seacor Marine, L.L.C., As Beneficial
Owner, Registered Owner, and Managing Owner of the M/V Seacor
Vanguard, for Exoneration from or Limitation of Liability

SEACOR HOLDINGS, INCORPORATED; SEACOR OFFSHORE, L.L.C.;
SEACOR MARINE, L.L.C., As Beneficial Owner, Registered Owner, and
Managing Owner of the M/V Seacor Vanguard Petitioning for Exoneration
from or Limitation of Liability,

Petitioners - Appellees
Vv.

TERRY G. ROBIN; AIMAN ABDEL; CARL ALEXANDER; SERGIO
ALVARADO; BILLY BENSEL; ET AL,

Claimants - Appellants

CONSOLIDATED WITH 11-31180

In Re: In the Matter of the Complaint of Siemens Financial, Incorporated, As
Beneficial Owner, Registered Owner, and Managing Owner of the M/V Seacor
Washington, for Exoneration from or Limitation of Liability

SEACOR HOLDINGS, INCORPORATED; SEACOR OFFSHORE, L.L.C.;
SEACOR MARINE, L.L.C.; SIEMENS FINANCIAL, INCORPORATED, As
Beneficial Owner, Registered Owner, and Managing Owner of the M/V Seacor
Washington Petitioning for Exoneration from or Limitation of Liability,

Petitioners - Appellees
Vv.

TERRY G. ROBIN; AIMAN ABDEL; CARL ALEXANDER; SERGIO
ALVARADO; BILLY BENSEL; ET AL,

Claimants - Appellants 4of 8
CaMse: 49-G1- 8417 HEolnOnt COO PreBEAl O2 Page: BilecDetélFiléd: dAPORZD 12 8

CONSOLIDATED WITH 11-31181

In Re: In the Matter of the Complaint of Island Ventures, II, L.L.C., As
Owner of the M/V Joe Griffin, for Exoneration from or Limitation of Liability

ISLAND VENTURES, IJ, L.L.C., As Owner of the M/V Joe Griffin, Petitioning
for Exoneration from or Limitation of Liability,

Petitioner - Appellee
Vv.

TERRY G. ROBIN; AIMAN ABDEL; CARL ALEXANDER; SERGIO
ALVARADO; BILLY BENSEL; ET AL,

Claimants - Appellants

CONSOLIDATED WITH 11-31183

In Re: In the Matter of the Complaint of Nautical Solutions, L.L.C., As Owner
of the M/V Mr. Sidney, for Exoneration from or Limitation of Liability

NAUTICAL SOLUTIONS, L.L.C., As Owner of the M/V Mr. Sidney,
Petitioning for Exoneration from or Limitation of Liability,

Petitioner - Appellee
Vv.

TERRY G. ROBIN; AIMAN ABDEL; CARL ALEXANDER; SERGIO
ALVARADO; BILLY BENSEL; ET AL,

Claimants - Appellants

Appeals from the United States District Court for the
Eastern District of Louisiana, New Orleans

CLERK'S OFFICE:
Under FED. R. App. P. 42(b), the consolidated appeal filed on December
12, 2011, appellate case #11-31184 is dismissed as of April 11, 2012, pursuant

5 of 8
Ceebe: 44-90 84 17 HEoUMEMMDOPPBHBEDI 52 Page: HilecatdIrildd: OdAREZO 02 8

to appellant's motion.

IT IS FURTHER ORDERED that the Appellees, MONICA ANN, LLC,
JNB OPERATING, LLC, GULF OFFSHORE LOGISTICS, LLC & M/V
MONICA ANN are no longer parties to the appeals.

LYLE W. CAYCE
Clerk of the United States Court
of Appeals for the Fifth Circuit

ny, _L[lnglcgue kL Batiste

Angelique D. Batiste, Deputy Clerk

ENTERED AT THE DIRECTION OF THE COURT

6 of &
C@aBe: 49-0101 4 17 HEodmnEtT DOPPB1BER? 52 Page: Filecatelrildd: 04#0920 02 8

Case No. 11-31172

IN RE: DEEPWATER HORIZON

TERRY G. ROBIN, Individually and on behalf of all members of the
3 classes represented by the named plaintiffs including
individual/entities which are landowners, individuals/entities
which are commercial fisherman, shrimpers, oyster harvesters,
ete.; CAROLYN FRIERE; DOROTHY MOLERO; JANICE GONZALES; JANET
ESTAVEZ; RICKY ESTAVEZ; ANABELLE NUNEZ; DARDINELLA LONG; KAREN
SCOTT; MARIE CAMPO; LARRY FRILOT; B.M. PERRY, II, LIMITED; DAVID
ESTAVEZ,

Plaintiffs - Appellants

Vv.

SEACOR MARINE, L.L.C.; SEACOR MARINE, INCORPORATED; SEACOR MARINE

INTERNATIONAL, INCORPORATED; NAUTICAL VENTURES, L.L.C.; ISLAND
VENTURES, II; JOB GRIFFIN MV, in rem; MR. SIDNEY MV, in rem;
SEACOR WASHINGTON MV, in rem; SEACOR VANGUARD MV, in rem,

Defendants - Appellees

CONSOLIDATED WITH 11-31178

In Re: In the Matter of the Complaint of Seacor Worldwide,
Incorporated, As Beneficial Owner,Registered Owner, and Managing
Owner of the M/V Seacor Lee, for Exoneration from or Limitation
of Liability

SEACOR HOLDINGS, INCORPORATED; SEACOR OFFSHORE, L.L.C.; SEACOR
MARINE, L.L.C.; SEACOR WORLDWIDE, INCORPORATED, As Beneficial

Owner, Registered Owner, and Managing Owner of the M/V Seacor Lee

Petitioning for Exoneration from or Limitation of Liability,
Petitioners - Appellees

Vv.

TERRY G. ROBIN; AIMAN ABDEL; CARL ALEXANDER; SERGIO ALVARADO;
BILLY BENSEL;, ET AL,

Claimants - Appellants

CONSOLIDATED WITH 11-31179

In Re: In the Matter of the Complaint of Seacor Marine, L.L.C.,
As Beneficial Owner, Registered Owner, and Managing Owner of the
M/V Seacor Vanguard, for Exoneration from or Limitation of
Liability

SEACOR HOLDINGS, INCORPORATED; SEACOR OFFSHORE, L.L.C.; SEACOR
MARINE, L.L.C., As Beneficial Owner, Registered Owner, and
Managing Owner of the M/V Seacor Vanguard Petitioning for
Exoneration from or Limitation of Liability,

Petitioners - Appellees

7 of 8
Cee?) 44-911 8417 HEelMERMDOPPBHBED 52 Page: Bilecatelrildd: odAaE20 12 8

Vi.

TERRY G. ROBIN; AIMAN ABDEL;
BILLY BENSEL; ET AL,

Claimants - Appellants

CONSOLIDATED WITH 11-31180

In Re: In the Matter of the
Incorporated, As Beneficial

CARL ALEXANDER; SERGIO ALVARADO;

Complaint of Siemens Financial,

Owner, Registered Owner, and Managing

Owner of the M/V Seacor Washington, for Exoneration from

or Limitation of Liability

SEACOR HOLDINGS, INCORPORATED; SEACOR OFFSHORE, L.L.C.; SEACOR
MARINE, L.L.C.; SIEMENS FINANCIAL, INCORPORATED, As Beneficial
Owner, Registered Owner, and Managing Owner of the M/V Seacor
Washington Petitioning for Exoneration from or Limitation of

Liability,
Petitioners - Appellees
Vv.

TERRY G. ROBIN; AIMAN ABDEL;
BILLY BENSEL; ET AL,

Claimants ~ Appellants

CONSOLIDATED WITH 11-31181
In Re: In the Matter of the
L.L.C., As Owner of the M/V
Limitation of Liability

ISLAND VENTURES, IT, L.L.C.,
Petitioning for Exoneration

Petitioner - Appellee
Vv.

TERRY G. ROBIN; AIMAN ABDEL,;
BILLY BENSEL; ET AL,

Claimants - Appellants

CONSOLIDATED WITH 11-31183
In Re: In the Matter of the
L.L.C., As Owner of the M/V
Limitation of Liability

NAUTICAL SOLUTIONS, L.L.C.,
Petitioning for Exoneration

Petitioner - Appellee
Vv.

TERRY G. ROBIN; AIMAN ABDEL;
BILLY BENSEL; ET AL,

Claimants - Appellants

CARL ALEXANDER; SERGIO ALVARADO;

Complaint of Island Ventures, II,
Joe Griffin, for Exoneration from or

As Owner of the M/V Joe Griffin,
from or Limitation of Liability,

CARL ALEXANDER; SERGIO ALVARADO;

Complaint of Nautical Solutions,
Mr. Sidney, for Exoneration from or

As Owner of the M/V Mr. Sidney,
from or Limitation of Liability,

CARL ALEXANDER; SERGIO ALVARADO;

8 of 8
